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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA


Adrianna Bostic,

        Plaintiff,                            Case No. 0:21-cv-1602
vs.

Unum Life Insurance Company of                COMPLAINT
America,

        Defendant.



Plaintiff, for her Complaint against Defendant, states and alleges:

      1. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331

and 29 U.S.C. § 1132(e)(1) and (f) of the Employee Retirement Income Security

Act of 1974 (“ERISA”) over this claim for disability benefits under a plan

governed by ERISA, 29 U.S.C. § 1001 et seq.

      2. Venue is proper in this district pursuant to 29 U.S.C. § 1132 (e)(2)1,

because Unum Life Insurance Company of America may be found in this district.

In particular, Unum Life Insurance Company of America is registered as a

corporation with the State of Minnesota, conducts ongoing business with




1
 29 U.S.C. § 1132 (e)(2) states “Where an action under this subchapter is
brought in a district court of the United States, it may be brought in the district …
where a defendant resides or may be found…”
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Minnesota residents, employs Minnesota residents, has extensive contacts within

Minnesota, and accordingly is found within Minnesota.

   3. On information and belief, Defendant Unum Life Insurance Company of

America insures employee benefit plan (“Plan”) that Northeast Georgia Health

System, Inc. created and maintains to provide its employees with income

protection should they become disabled.

   4. On information and belief, Defendant Unum Life Insurance Company of

America is a corporation organized and existing under the laws of the State of

Maine and is the insurer and claims administrator for the Plan.

   5. Plaintiff is a resident and citizen of the United States, an employee of

Northeast Georgia Health System, Inc. and a participant in the Plan.

   6. As set forth in 29 U.S.C. § 1133 of the ERISA statute, the Plan provides

a mechanism for administrative appeals of benefit denials. Plaintiff has

exhausted all such appeals.

   7. On information and belief, Plaintiff was covered at all relevant times under

group disability policy number 953566 002 which was issued by Unum Life

Insurance Company of America to Northeast Georgia Health System, Inc. to

insure the participants of the Plan. A copy of the policy is attached as Exhibit A.

   8. On information and belief, Unum Life Insurance Company of America

both funds the Plan and decides whether participants will receive benefits under



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the Plan. Accordingly, Unum Life Insurance Company of America has a conflict

of interest, which must be considered when determining whether its denial of

Plaintiff’s benefits was proper.2

    9. Unum Life Insurance Company of America’s interest in protecting its own

assets influenced its decision to deny Plaintiff’s application for disability

benefits.

    10.       The Plan is an ERISA welfare benefit plan.

    11.       Under the Plan, a participant who meets the definition of “disabled”

is entitled to disability benefits paid out of the Plan assets.

    12.       Plaintiff became disabled under the terms of the Plan’s policy on or

about November 12, 2019 and continues to be disabled as defined by the Plan.

Accordingly, Plaintiff is entitled to benefits under the terms of the Plan.

    13.       Plaintiff submitted a timely claim to Unum Life Insurance Company

of America for disability benefits.

    14.       Unum Life Insurance Company of America denied Plaintiff’s claim

for disability benefits. Plaintiff appealed Unum Life Insurance Company of



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  “[A]n entity that is both the claims administrator and payor of benefits has a
conflict of interest.” Jones v. Mountaire Corp. Long Term Disability Plan, 542
F. 3d 234, 240 (8th Cir. 2008). Moreover, as the Supreme Court has held, “that
conflict must be weighed as a factor in determining whether there is an abuse
of discretion.” Metro. Life Ins. Co. v. Glenn, 128 S. Ct. 2343, 2348 (2008)
(emphasis added).

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America’s decision, but Unum Life Insurance Company of America denied

Plaintiff’s appeal on June 10, 2021.

   15.       Plaintiff provided Unum Life Insurance Company of America with

substantial medical evidence demonstrating she was eligible for disability

benefits and disabled from November 13, 2019 to May 10, 2020, as well as

disabled from May 10, 2020 to the present day and continuing.

   16.       The medical evidence Plaintiff provided included a narrative report

from Dr. Benjamin Akosa dated October 22, 2020.

   17.       Dr. Benjamin Akosa concluded Plaintiff was unable to work, even in

a sedentary job as of the date of Dr. Akosa’s report, because Plaintiff could not

sustain sedentary exertion throughout a full-time work schedule.

   18.       Dr. Benjamin Akosa also concluded that Defendant’s September 25,

2020 denial letter misstated him regarding Plaintiff not requiring restrictions or

limitation by stating, “Unum’s conclusion is not accurate, I did not state that the

patient had no restrictions or limitations from April 8, 2020 forward, as the

patient had significant limitations to her ability to function independently.”

   19.       Dr. Benjamin Akosa found that Plaintiff required actual limitations

and/or restrictions of NO WORK from December 3, 2019 to the date of his report.

   20.       The medical evidence Plaintiff also provided included medical

records from Psychiatric Professionals of Georgia, Ridgeview Institute-Monroe,



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Northeast Georgia Psychological Services, Pleasant Hill Family Medicine, and

Parris and Associates.

   21.       These medical records all concluded that Plaintiff was unable to

work, even in a sedentary job, because Plaintiff could not sustain sedentary

exertion throughout a full-time work schedule.

   22.       Specifically, the medical records from Psychiatric Professionals of

Georgia had a visit summary from Plaintiff’s August 7, 2020 visit that

specifically stated, “off work from 12/3/2019 until seen next and has not been

able to return to work.”

   23.       Unum Life Insurance Company of America’s decision to deny

disability benefits was arbitrary, capricious, unreasonable, irrational, wrongful,

contrary to the terms of the Plan, contrary to the evidence and contrary to law, as

demonstrated by the following non-exhaustive examples:

          a. Unum Life Insurance Company of America failed to have Plaintiff

             independently examined, and instead relied on the opinion of a

             medical professional who merely reviewed Plaintiff’s medical

             records and rejected the opinion of Plaintiff’s treating physician;

          b. Unum Life Insurance Company of America relied on the opinion of

             a medical professional who was financially biased by his/her




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             relationship with Unum Life Insurance Company of America and as

             such unable to offer an unbiased opinion;

          c. Unum Life Insurance Company of America relied on the opinion of

             a medical professional that was not supported by substantial

             evidence in the claim file, and was inconsistent with the overall

             evidence in the record;

          d. Unum Life Insurance Company of America relied on the opinion of

             a medical professional who was not qualified to refute the findings

             of Plaintiff’s physicians;

          e. Unum Life Insurance Company of America ignored obvious medical

             evidence and took selective evidence out of context as a means to

             deny Plaintiff’s claim;

          f. Unum Life Insurance Company of America ignored and/or

             misrepresented the opinions of Plaintiff’s treating physicians.

   24.       Unum Life Insurance Company of America abused its discretion in

denying Plaintiff’s claim.

   25.       The decision to deny benefits was wrong under the terms of the Plan.

   26.       The decision to deny benefits was not supported by substantial

evidence in the record.




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   27.       Unum Life Insurance Company of America’s failure to provide

benefits due under the Plan constitutes a breach of the Plan.

   28.       Unum Life Insurance Company of America’s failure to provide

Plaintiff with disability benefits has caused Plaintiff to be deprived of those

benefits from November 12, 2019 to the present. Plaintiff will continue to be

deprived of those benefits, and accordingly will continue to suffer future

damages in an amount to be determined.

   29.       Unum Life Insurance Company of America’s denial of benefits

under the Plan has caused Plaintiff to incur attorneys’ fees and costs to pursue

this action. Pursuant to 29 U.S.C. § 1132(g)(1), Defendants should pay these

costs and fees.

   30.       A dispute now exists between the parties over whether Plaintiff

meets the definition of “disabled” under the terms of the Plan. Plaintiff requests

that the Court declare she fulfills the Plan’s definition of “disabled,” and is

accordingly entitled to all benefits available under the Plan. Plaintiff further

requests reimbursement of all expenses and premiums she paid for benefits under

the Plan from the time of denial of benefits to the present. In the alternative of

the aforementioned relief, Plaintiff requests that the Court remand and instruct

Unum Life Insurance Company of America to adjudicate Plaintiff’s claim in a

manner consistent with the terms of the Plan.



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     WHEREFORE, Plaintiff respectfully requests the following relief against

Defendant:

  1. A finding in favor of Plaintiff against Defendant;
  2. Pursuant to 29 U.S.C. § 1132(a)(1)(B), damages in the amount equal to the
     disability income benefits to which Plaintiff is entitled through the date of
     judgment;
  3. Prejudgment and postjudgment interest, calculated from each payment’s
     original due date through the date of actual payment;
  4. Any Plan benefits beyond disability benefits that Plaintiff is entitled to
     while receiving disability benefits;
  5. Reimbursement of all expenses and premiums Plaintiff paid for benefits
     under the Plan from the time of denial of benefits to the present;
  6. A declaration that Plaintiff is entitled to ongoing benefits under the Plan
     so as long as Plaintiff remains disabled under the terms of the Plan;
  7. Reasonable costs and attorneys’ fees incurred in this action; and
  8. Any other legal or equitable relief the Court deems appropriate.




Dated: 7/12/2021                     RESPECTFULLY SUBMITTED,

                                     By: /s/ Blake Bauer

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